                     UNITED STATES DISTRICT COURT FOR THE
                     WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                            CASE NO. 3:11-MJ-279-DCK


UNITED STATES OF AMERICA,                   )
                                            )
       Plaintiff,                           )
                                            )
v.                                          )        ORDER GRANTING ADMISSION
                                            )              PRO HAC VICE
EDWIN JAVIER FRAUSTO TORRES,                )
                                            )
       Defendant                            )


       THIS MATTER IS BEFORE THE COURT on the “Application For Admission To

Practice Pro Hac Vice” (Document No. 6) concerning Matthew J. Kappel, filed July 20, 2011.

Mr. Kappel seeks to appear as counsel pro hac vice for Defendant Edwin Javier Frausto Torres.

       Upon review and consideration of the Motion, which was accompanied by submission of

the necessary fee, the Court hereby grants the motion.

       In accordance with Rule 83.1(B) of this Court’s Local Rules, Mr. Kappel is admitted to

appear before this court pro hac vice on behalf of Defendant Edward Javier Frausto Torres.

       SO ORDERED.



                                                Signed: July 29, 2011




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